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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA
 ______________________________________

United States of America,
                                     Plaintiff,
                                                              21 - CR - 399 (RDM)
                       v.

Roman Sterlingov,

                                    Defendant.

 ______________________________________




 Motion for Leave to Seal Exhibits B to Defendant’s Supplemental Motion to
                        Free Untainted Seized Assets

       Defendant Roman Sterlingov respectfully submits this Motion for Leave to File Under

Seal Exhibit B to his Supplemental Motion to Freeze Untainted Assets filed on December 21,

2023. The document contains sensitive and confidential financial information. They have been

emailed to the Government and Court.
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Dated: December 21, 2022                 Respectfully submitted,

                                         /s/ Tor Ekeland
                                         Tor Ekeland (NYS Bar No. 4493631)
                                         Pro Hac Vice
                                         Tor Ekeland Law, PLLC
                                         30 Wall Street, 8th Floor
                                         New York, NY
                                         t: (718) 737 - 7264
                                         f: (718) 504 - 5417
                                         tor@torekeland.com

                                         /s/ Michael Hassard
                                         Michael Hassard (NYS Bar No. 5824768)
                                         Pro Hac Vice
                                         Tor Ekeland Law, PLLC
                                         30 Wall Street, 8th Floor
                                         New York, NY
                                         t: (718) 737 - 7264
                                         f: (718) 504 - 5417
                                         michael@torekeland.com

                                         /s/ Marina Medvin, Esq.
                                         Counsel for Defendant
                                         MEDVIN LAW PLC
                                         916 Prince Street
                                         Alexandria, Virginia 22314
                                         Tel: 888.886.4127
                                         Email: contact@medvinlaw.com

                                         Counsel for Defendant Roman Sterlingov




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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA
 ______________________________________

 United States of America,
                                    Plaintiff,
                                                             21 - CR - 399 (RDM)
                      v.

 Roman Sterlingov,

                                   Defendant.

 ______________________________________


      Proposed Order Granting Defendant Leave to File Exhibit B of his
           Supplemental Motion to Free Untainted Seized Assets

Having considered Defendant’s Motion, leave to file Exhibit under seal is hereby GRANTED.

So Ordered,

___________________________
HON. RANDOLPH D. MOSS

Dated:_____________________




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                                    Certificate of Service
       I hereby certify that on the 21st day of December 2022, the forgoing document was filed

with the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of

the foregoing was sent to the following individuals via e-mail:


                                                                        s/ Tor Ekeland



U.S. Department of Justice
District of Columbia
555 Fourth St. N.W.
Washington, D.C. 20530

Catherine Pelker
Catherine.Pelker@usdoj.gov

Christopher Brown
Christopher.Brown6@usdoj.gov




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